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T/ UNlTED STATES DlSTRlCT COURT
t f WESTERN DlSTRlCT OF LOUlSlANA
§ lVlONROE DlVlSlON
RAVEN RCWLAND, NATURAL TUTRlX * ClVlL ACTlON
GF THE lVllNOR CHlLD, *
BENJANllN DAVlS, JR. * NO. 13-02313
VERSUS * JUDGE DO LD . WALTER
~k v wali/14 _,,.W~=L* ~~~~~ ~ “,
AMER\CAN llechAL RESPONSE, iNc_ * MAGIS %AMES D. KIRK
* JURY DElVlAND

ORDER

CONS|DER|NG THE FOREGO|NG l\/IOT|ON;
lT |S HEREBY ORDERED, ADJUDGED, AND DECREED that all Clalms and

demands asserted in the above entitled and captioned matter be and are hereby dismissed

With full prejudice /\{
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